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                                                  STATE OF NEW YORK
                                            OFFICE OF THE ATTORNEY GENERAL

   LETITIA JAMES                                                                                       DIVISION OF STATE COUNSEL
  ATTORNEY GENERAL                                                                                           LITIGATION BUREAU



                                                                                                                   May 17, 2022
BY ECF
The Honorable Cathy Seibel
United States District Judge
Southern District of New York
300 Quarropas Street
White Plains, New York 10601-4150

               Re:        Todd v Colombos, SDNY 21 Civ. 5226 (CS)

Dear Judge Seibel:

        This Office represents Correction Officer A. Colombos in the above-referenced matter and writes in
response to Plaintiff Lavelle Todd’s motions for an extension of time filed on April 14, 2022 and May 6, 2022,
in which he claims his legal work and other property were confiscated. Our Office investigated Plaintiff’s claim
and corresponded with DOCCS officials on April 28, April 29, May 9, and May 12, 2022. Specifically, the
undersigned corresponded with Captain Arthur Gravlin and Sergeant Darren Basford of Upstate Correctional
Facility. The results of that investigation are as follows.

         During the first week of April 2022, Plaintiff had several appointments during which his property was
left in his cell while he was escorted to the Office of Mental Health (“OMH”). While DOCCS officials have
informed this Office that during those visits Plaintiff did not have access to the property left in his cell, they also
informed us that those visits away from his cell each lasted no longer than twenty-four hours.

        On April 8, 2022, Plaintiff was then transferred from cell block 8 to cell block 10, as part of a larger
facility transfer of inmates to residential rehabilitation units (“RRU”). On April 12, 2022, Plaintiff filed a
complaint about missing property. At all times relevant, DOCCS has denied destroying or confiscating Plaintiff’s
property, nor is Plaintiff’s property currently in the possession of DOCCS officials. Plaintiff’s allegation that he
was assaulted on April 7, 2022 could not be verified, nor does there appear at this time to have been a use of force
report filed by DOCCS officials on or around this date. Plaintiff may pursue a grievance with respect to his
complaints. Notwithstanding the above, this Office has no objection to Plaintiff’s request for an extension of time
to file his amended complaint and will promptly mail to Plaintiff a courtesy copy of any pleadings this Court
orders it to mail.


       Thank you for your attention on this matter.



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                                                        Respectfully submitted,
                                                        /s/ Andrew Blancato_______
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cc:   Lavelle Todd (via U.S. Mail)
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